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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION                                               FILED
                                                                                         Scott L. Poff, Clerk
                                                                                      United States District Court

                                                                                  By STaylor at 4:24 pm, Nov 09, 2018

 MARGERY FREIDA MOCK; and ERIC
 SCOTT OGDEN, JR., Individually and on
 behalf of others similarly situated,

                 Plaintiffs,                                     CIVIL ACTION NO.: 2:18-cv-25

         v.

 GLYNN COUNTY GEORGIA; E. NEAL
 JUMP, Glynn County Sheriff; ALEX
 ATWOOD, Glynn County Chief Magistrate
 Judge; B. REID ZEH, III, Glynn County
 Misdemeanor Public Defender,

                 Defendants.


                         ORDER FOR SETTLEMENT CONFERENCE

        The Court hereby ORDERS that this matter is set for a Settlement Conference on

Thursday, December 06, 2018, at 9:00 AM, in the United States District Courthouse, First Floor

Courtroom, 125 Bull Street, Savannah, Georgia. To facilitate this process, the Court hereby

STAYS this case and all deadlines UNTIL FURTHER ORDER OF THE COURT.

        The Court issues the following directions to counsel and the parties which are designed to

increase the efficiency and effectiveness of the Settlement Conference. Counsel shall provide a

copy of this Order and the attached addendum to their clients at least twenty-one (21) days prior

to the date of the Settlement Conference. Counsel and the parties are directed to pay particular

attention to the directive to exchange settlement proposals in advance of the settlement conference.

Given the Plaintiffs’ claims in this case and the current posture, those settlement proposals must

specifically address Plaintiffs’ claims for injunctive relief.
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I.         Personal Appearance of Parties

           Except as noted specifically in this Order, the parties or a representative with full settlement

authority for the party, must appear personally at the Settlement Conference. Defendant B. Reid

Zeh III and his counsel do not need to attend the settlement conference. Additionally, given that

there are multiple Plaintiffs and proposed plaintiffs in this putative class action, Plaintiffs and

proposed plaintiffs do not have to appear personally, though they may choose to do so. Personal

appearance reduces the time for communication of offers and expands the ability to explore options

for settlement. If any party is insured for the claims at issue, a representative of the insurer, with

full settlement authority, shall also appear in person. Counsel who will actually try the case and

each party, 1 armed with full settlement discretion, shall also be present. For any party that is an

organization, governmental entity, corporation, or other collective entity, a duly authorized officer

or managing agent of that party shall be personally present at the Settlement Conference. Having

the client available by telephone is not acceptable. No lawyer, no matter how knowledgeable about

the case and skillful in negotiation, is a substitute for a live client.

           One of the primary purposes of a settlement conference is to have the final decision-making

representatives personally participate in the Settlement Conference and hear the presentations of

the opposite side. Only through such direct participation can a representative make settlement

decisions that are informed by the Settlement Conference process. No party is required to settle a

case. However, if a party’s representative cannot evaluate and change the party’s position based

on developments at the settlement conference, then the settlement conference is of no practical

value. Thus, attendance by an inadequately authorized principal defeats the essential purposes of

the settlement conference.



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     As noted above, however, Plaintiffs do not have to attend but may if they so choose.


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         This means that each party must attend the Settlement Conference through a person who

is fully authorized to approve a settlement and has the power to change the party’s settlement

posture during the course of the Conference. If the party representative has a limit, or “cap” on

his or her authority which would require telephone or other consultation with a corporate office or

a “home office,” this requirement is not satisfied. To be perfectly plain: each party must bring a

fully authorized client representative to the settlement conference. See Lockhart v. Patel, 115

F.R.D. 44 (E.D. Ky. 1987), regarding the potential consequences for failure to comply with this

provision.

II.      Exchanging Settlement Proposals Prior to Settlement Conference

         Settlement conferences are often unproductive unless the parties have exchanged demands

and offers before the conference and have made a serious effort to settle the case on their own.

Thus, before arriving at the Settlement Conference, the parties are to negotiate and make a good

faith effort to settle the case without the involvement of the Court. In particular, each party must

make at least one specific settlement proposal prior to the Settlement Conference to resolve all

claims and defenses in this case. Plaintiffs shall deliver the first proposal to Defendants’ counsel

on or before November 20, 2018. Defendants shall deliver a counterproposal to Plaintiffs’ counsel

on or before November 30, 2018.

         All proposals must be made in writing or via e-mail. The parties must make their proposals

in good faith, must address all claims, and must take into consideration the positives and the

negatives of their claims and/or defenses.




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III.   Confidential Settlement Statements

       Each party shall provide to the Undersigned, in confidence, a concise settlement statement

at least three (3) business days before the conference. 2 The parties are directed to be candid in

their statements. The settlement statement is not to exceed seven (7), typed, double-spaced pages

and should include:

       (1)    analysis of the strengths and weaknesses of the parties’ case;

       (2)   a present settlement proposal;

       (3)   an outline of the settlement negotiations to date; and

       (4)   copies of any critical agreements, business records, photographs or other documents
             or exhibits if not already part of the Court’s record.

The settlement statement should not be lengthy, but it should contain enough information to be

useful to the Court in analyzing the factual and legal issues in the case. The settlement statement

will not be filed with the clerk or provided to the other parties in the case. The settlement statement

will be for the exclusive use of the District Judge in preparing for and conducting settlement and

will not become a part of the case file.

IV.    Course of Settlement Proceedings

       The purpose of the conference is to facilitate settlement of this case, if that is appropriate.

The conference will be conducted in such a manner as to not prejudice any party in the event

settlement is not reached. To that end, all matters communicated to the Undersigned in confidence

will be kept confidential and will not be disclosed to any other party. The parties agree, by

participating in the settlement conference, that any statements made or presented during the




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  The parties are directed to e-mail their settlement statements to the Undersigned’s Courtroom Deputy
Clerk at: pam_hammock@gas.uscourts.gov.


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conference are confidential and may not be used as evidence in any subsequent administrative or

judicial proceedings.

       At the mediation, the Court will first hold separate conferences with each party, with

counsel present. Each party and counsel should be prepared to engage in a discussion of the factual

and legal issues of the case. Separate, confidential caucuses will then be held with counsel for

each party (and, at times, the parties or a party’s representative(s)). Attached is an addendum

entitled “Settlement Conference Preparation” for counsel to review with their clients prior to the

mediation to make the best use of the limited time allotted.

       It is the Court’s experience that parties appear frequently at settlement conferences fully

prepared to argue liability with passion but without any detailed analysis of damages. This is not

productive to the settlement conference process. Accordingly, all parties are directed to be

prepared to present in detail, and with reference to supporting documents if so ordered, a

thorough analysis of the injunctive relief and potential categories and amounts of damages

which might reasonably be awarded at trial if Plaintiffs prevail in whole or in part. This

provision applies to Defendants with equal force.




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                                          CONCLUSION

       Failure of any party to comply with the conditions in this Order may result in the Settlement

Conference being rescheduled, with the party responsible to bear all associated costs. If any party

believes this case presents an exceptional circumstance which would justify a variance from these

rules, that party must contact the District Judge’s office no later than five (5) business days before

the Settlement Conference to request a waiver of the rules. Waivers are granted only by the District

Judge and only on a showing of specific facts constituting exceptional circumstances. No such

waiver will be valid unless entered into the record by the Court.

       SO ORDERED, this 9th day of November, 2018.




                                       R. STAN BAKER
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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                      SETTLEMENT CONFERENCE PREPARATION

Experience shows that in negotiations the party who is best prepared usually obtains the best result.
Settlement conferences are more efficient if all parties and counsel are prepared. Consider the
following points, some of which may not apply, to aid in the effectiveness of your settlement
conference.

A.     FORMAT

       1. The Court will use a mediation format, and private caucusing with each side; the judge
          may address your client directly.

       2. The judge will not meet with parties separate from counsel.

B.     ISSUES

       1.      What issues (in and outside of this lawsuit) need to be resolved? What are the
               strengths and weaknesses of each issue? What is your most persuasive argument?

       2.      What remedies are available resulting from this litigation including a trial? From a
               settlement? Are there any remedies or structure of remedies available through
               settlement that are not available through trial?

       3.      Is there any ancillary litigation pending or planned which affects case value? What
               about liens?

       4.      Do you have enough information to value the case? If not, how are you going to
               get more information before the conference?

       5.      Do attorney’s fees or other expenses affect settlement? Have you communicated
               this to the other side?

       6.      Is each Defendant and/or its carrier solvent?

C.     AUTHORITY

       1.      Are there outstanding liens? Have you verified amounts and whether they are
               negotiable? Do we need to include a representative of the lien holder? If so, contact
               the judge and a notice of the settlement conference will be sent.

       2.       Is there valid insurance coverage? In what amount? If coverage is at issue,
               or the amount/type affects settlement value, have you notified the other side? Do
               we need to include the representative from more than one company/carrier?
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D.   NEGOTIATIONS

     1.    Where did your last discussion end?

     2.    Discuss settlement with the opposing parties before the mediation to make it
           proceed more efficiently. At least one offer and response is required.

     3.    What value do you want to start with? Why? Have you discussed this with your
           client?

     4.    What value do you want to end with? Why? Have you discussed this with your
           client? Is it significantly different from values you have placed on this case at other
           times? Does your client understand why?

     5.    Is there confidential information which affects case value?             Why
           can’t/won’t/shouldn’t it be disclosed? How can the other side be persuaded to
           change value if it doesn’t have this information?

     6.    What happens if you don’t settle the case at the conference? What is your best
           alternative to a negotiated settlement? Why? What might change the outcome of
           the settlement conference? Pending motions, discovery, expert’s report, etc.

E.   CLOSING

     1.    Have you discussed settlement formats with your client? Does the client
           understand structured settlements, annuities, Rule 68 offers of judgment?

     2.    How soon could checks/closing documents be received?

     3.    If settlement is not reached, and further discovery is needed, what is your plan for
           continuing settlement discussions? Do you want the Court involved in these talks?

     4.    If settlement is not reached, be prepared to discuss it again at the pretrial conference.




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